Case 2:13-cr-02094-TOR   ECF No. 632   filed 05/15/14   PageID.2154 Page 1 of 5
Case 2:13-cr-02094-TOR   ECF No. 632   filed 05/15/14   PageID.2155 Page 2 of 5
Case 2:13-cr-02094-TOR   ECF No. 632   filed 05/15/14   PageID.2156 Page 3 of 5
Case 2:13-cr-02094-TOR   ECF No. 632   filed 05/15/14   PageID.2157 Page 4 of 5
Case 2:13-cr-02094-TOR   ECF No. 632   filed 05/15/14   PageID.2158 Page 5 of 5
